                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 1 of 16 Page ID #:789



                                                           1 JEDEDIAH WAKEFIELD (CSB No. 178058)
                                                             jwakefield@fenwick.com
                                                           2 FENWICK & WEST LLP
                                                             555 California Street, 12th Floor
                                                           3 San Francisco, CA 94104
                                                             Telephone: 415.875.2300
                                                           4 Facsimile: 415.281.1350
                                                           5 ANNASARA G. PURCELL (CSB No. 295512)
                                                             apurcell@fenwick.com
                                                           6 FENWICK & WEST LLP
                                                             1191 Second Avenue, 10th Floor
                                                           7 Seattle, WA 98101
                                                             Telephone: 206.389.4510
                                                           8 Facsimile: 206.389.451
                                                           9 ARMEN NERCESSIAN (CSB No. 284906)
                                                             anercessian@fenwick.com
                                                          10 FENWICK & WEST LLP
                                                             801 California Street
                                                          11 Mountain View, CA 94041
                                                             Telephone: 650.988.8500
                                                          12 Facsimile: 650.938.5200
F ENWICK & W EST LLP




                                                          13 Attorneys for AUDIBLE, INC. and
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                                                             AMAZON.COM, INC.
                                                          14
                                                          15                       UNITED STATES DISTRICT COURT
                                                          16                      CENTRAL DISTRICT OF CALIFORNIA
                                                          17                     (WESTERN DIVISION – LOS ANGELES)
                                                          18 GRANT MCKEE, individually and on               Case No.: 2:17-cv-01941 GW (Ex)
                                                             behalf of all others similarly situated,
                                                          19                                                SUPPLEMENTAL
                                                                              Plaintiff,                    DECLARATION OF JASON A.
                                                          20                                                MASSELLO IN SUPPORT OF
                                                                   v.                                       DEFENDANTS’ MOTION TO
                                                          21                                                COMPEL ARBITRATION AND
                                                             AUDIBLE, INC. and AMAZON.COM,                  DISMISS CLAIMS
                                                          22 INC.,
                                                                                                            Date:      July 13, 2017
                                                          23                  Defendants.                   Time:      8:30 AM
                                                                                                            Crtm:      9D
                                                          24                                                Judge:     George H. Wu
                                                                                                            Trial Date:NONE SET
                                                          25
                                                          26
                                                          27
                                                          28
                                                               MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                              1       Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 2 of 16 Page ID #:790



                                                           1         I, Jason A. Massello, declare as follows:
                                                           2         1.     I am an attorney and serve as Corporate Counsel supporting Audible,
                                                           3 Inc. (“Audible”), a wholly owned subsidiary of Amazon.com, Inc. (“Amazon”).
                                                           4 My current responsibilities include supporting all aspects of Audible’s service
                                                           5 offerings and business operations, as well as working with the Amazon Litigation
                                                           6 and Regulatory Department in identifying, reviewing and producing documents in
                                                           7 litigation on behalf of Audible and Amazon. Based on my job responsibilities and
                                                           8 my review of Audible’s and Amazon’s business records, I am familiar with the
                                                           9 agreements, customer sign-up and order process, and customer history that I discuss
                                                          10 in this declaration. I make this declaration based on personal knowledge and
                                                          11 records that Audible and Amazon keep in the ordinary course of business, including
                                                          12 information obtained from other Audible and Amazon personnel in the course of
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                                                          13 their duties. I am competent to testify to the matters stated here.
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                                                          14         2.     In my two earlier declarations in this case, I discussed various ways in
                                                          15 which Mr. McKee received notice of, and agreed to, certain terms and conditions.
                                                          16 To provide the Court with a single set of materials for ease of reference, I re-attach
                                                          17 certain exhibits here.
                                                          18                 Overview of Grant McKee’s Use of Amazon Services
                                                          19         3.     In the ordinary course of business, Amazon generates and maintains
                                                          20 detailed customer account histories. In connection with the preparation of this
                                                          21 declaration I have reviewed the history for Plaintiff Grant McKee’s Amazon
                                                          22 account. Mr. McKee’s account history shows that he is a longtime user of Amazon
                                                          23 and several of its services. He has been an Amazon customer since August 19,
                                                          24 2008, and he joined Amazon Prime in February 2012. He signed up for a free trial
                                                          25 membership to Amazon Prime on February 10, 2012, which then converted to an
                                                          26 annual paid membership on March 10, 2012. Mr. McKee remains an active
                                                          27 Amazon Prime subscriber and Amazon customer.
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                               2        Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 3 of 16 Page ID #:791



                                                           1         4.    On June 26, 2016, Mr. McKee signed up for a free trial membership
                                                           2 for Amazon’s Audible digital audiobook and spoken audio information and
                                                           3 entertainment service. Mr. McKee enrolled in the Gold Monthly Membership plan
                                                           4 using his existing Amazon account and designated a credit card already on file with
                                                           5 Amazon for any future Audible purchases and subscription fees. From June 26,
                                                           6 2016 until he cancelled his Audible subscription, he accrued a total of six
                                                           7 membership credits, including one credit he received during the free trial. While
                                                           8 Mr. McKee was an Audible subscriber, he redeemed four of these six credits.
                                                           9         5.    On December 1, 2016, Mr. McKee cancelled his Gold Membership
                                                          10 before redeeming the two membership credits that remained in his membership
                                                          11 subscription. Before doing so, he could have redeemed those remaining
                                                          12 membership credits for audiobooks from a collection of over 250,000 Audible
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                                                          13 audiobook titles, and kept those audiobooks for future listening after cancelling his
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                                                          14 membership.
                                                          15         6.    Mr. McKee is also a user of Amazon devices that have integration with
                                                          16 Amazon’s Audible service. For instance, Mr. McKee’s account history shows that
                                                          17 on April 19, 2016, Mr. McKee purchased an Amazon Echo device from Amazon.
                                                          18 Amazon Echo is a hands-free, Wi-Fi connected device that connects to the Alexa
                                                          19 Voice Service. Plaintiff activated his Amazon Echo on April 27, 2016, linking the
                                                          20 Amazon Echo to his Amazon account. Upon activation, an Amazon Echo can play
                                                          21 any Audible audiobook that appears within the Audible library associated with that
                                                          22 user’s Amazon account. It can also play sample chapters and free Audible
                                                          23 audiobooks that do not require an active membership or the purchase or use of a
                                                          24 membership credit.
                                                          25         7.    Between the time that he signed up for Prime in 2012 and the time that
                                                          26 he filed this lawsuit, Plaintiff placed 160 separate orders from Amazon.com using
                                                          27 his Prime account. On June 22, 2016, four days before he signed up for Audible
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                              3        Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 4 of 16 Page ID #:792



                                                           1 using his Prime account, Plaintiff used his Prime account to make a purchase from
                                                           2 Amazon. On July 4, 2016, eight days after he signed up for Audible, Plaintiff again
                                                           3 made a purchase through Amazon. Plaintiff continued to make Amazon purchases,
                                                           4 making his last recorded Amazon purchase before this lawsuit on March 3, 3017,
                                                           5 seven days before filing this lawsuit.
                                                           6         8.    At no point during his Audible membership or since did Mr. McKee
                                                           7 contact Audible or Amazon customer support to express any dissatisfaction with his
                                                           8 Audible service. Nor did Mr. McKee use Audible’s Great Listen Guarantee, one of
                                                           9 his membership benefits, to return or exchange any of the audiobooks he had
                                                          10 received in exchange for his membership credits.
                                                          11         9.    As I will discuss further below, during his frequent use of Amazon
                                                          12 services, Mr. McKee repeatedly agreed to provisions that required arbitration of
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                                                          13 disputes. He agreed to Audible’s terms on at least three separate occasions: when
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                                                          14 signing up for Audible, when signing in to the Audible mobile app, and when
                                                          15 setting up his Amazon Echo device (which plays Audible audiobooks). He also
                                                          16 agreed to Amazon’s conditions of use, including the arbitration provision, when
                                                          17 creating his Prime account, setting up his Amazon Echo, and when making
                                                          18 numerous purchases from Amazon on hundreds of occasions.
                                                          19       Grant McKee’s Agreement to Audible Terms During Audible Sign-up
                                                          20         10.   Audible’s business records show that, on June 26, 2016, Mr. McKee
                                                          21 signed up for an Audible free trial membership after being referred to the Audible
                                                          22 mobile website by an online ad. I understand that, at the May 4, 2017 hearing on
                                                          23 this motion to compel, Plaintiff’s counsel questioned whether the exhibits I
                                                          24 previously submitted with my last declaration reflect the disclosures that Mr.
                                                          25 McKee actually saw when he signed up for an Audible subscription on June 26,
                                                          26 2016. I have reviewed Audible’s records and confirmed that the mobile landing
                                                          27 webpages and disclosures that Audible had in place, and which were shown to Mr.
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                              4       Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 5 of 16 Page ID #:793



                                                           1 McKee on June 26, 2016, are accurately reflected below. Attached as Exhibit 1 is
                                                           2 the complete user flow that Mr. McKee encountered on his mobile device after
                                                           3 arriving at the Audible mobile webpage on June 26, 2016. The only differences
                                                           4 between what appears in these exhibits and what Mr. McKee saw that day may be
                                                           5 in the advertising present on the mobile landing webpages, as those elements may
                                                           6 change from access to access. However, at all relevant times, the disclosures
                                                           7 present on the webpages and their placement in relation to the mechanism for
                                                           8 starting an Audible membership remain unchanged. I describe what Mr. McKee
                                                           9 was shown at each stage of this user sign-up flow below.
                                                          10                        First Webpage in Mobile Sign-Up Flow
                                                          11         11.   The first webpage in the sign-up flow that Mr. McKee was shown
                                                          12 contained a button that said “Try Audible Free.” Mr. McKee pressed this button to
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                                                          13 proceed with the sign-up process. A copy of this first mobile webpage is attached
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                                                          14 as Exhibit 2 to this declaration.
                                                          15         12.   The first webpage in the sign-up flow also contained, at the bottom of
                                                          16 that screen, hyperlinks to the Audible Service Terms of Use and Privacy Notice.
                                                          17 Upon pressing the Conditions of Use link on this first screen on June 26, 2016,
                                                          18 Mr. McKee would have been directed to the Audible Service Terms of Use, last
                                                          19 updated June 7, 2016, which I discuss in paragraphs 20-22 below.
                                                          20                      Second Webpage in Mobile Sign-Up Flow
                                                          21         13.   The second webpage in the sign-up flow that Mr. McKee was shown
                                                          22 stated that Audible is “an Amazon company” and displayed the Amazon logo, and
                                                          23 it invited Mr. McKee to “Sign in using your Amazon account.” Audible does not
                                                          24 allow users to sign-up for an Audible subscription except by either using an
                                                          25 existing Amazon account or creating a new Amazon account, and this was true at
                                                          26 the time that Mr. McKee signed up on June 26, 2016. Accordingly, this webpage
                                                          27 permitted Mr. McKee to enter his Amazon login credentials, i.e., e-mail address and
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                             5        Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 6 of 16 Page ID #:794



                                                           1 password, which he did. Mr. McKee then pressed the “Continue” button and
                                                           2 proceeded to the next screen in the sign-up flow. A copy of this second webpage is
                                                           3 attached as Exhibit 3 to this declaration.
                                                           4                        Third Webpage in Mobile Sign-Up Flow
                                                           5         14.   After entering his Amazon login credentials and clicking “Continue,”
                                                           6 Mr. McKee was directed to a third mobile webpage, from which he could start his
                                                           7 Audible trial membership.
                                                           8         15.   This webpage required Mr. McKee to enter or select a payment
                                                           9 method. The webpage states “We’re an Amazon company” and it displays the
                                                          10 Amazon logo. If a user has no payment method on file with Amazon, Audible
                                                          11 allows the user to enter a payment method on a form on the mobile webpage
                                                          12 depicted in Exhibit 1.
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                                                          13         16.   If a user does have a payment method associated with an Amazon
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                                                          14 account, Audible allows the user to designate any of the credit cards on file for his
                                                          15 Amazon account for an Audible membership. Audible’s records reflect that Mr.
                                                          16 McKee designated a credit card that he already had on file with his Amazon
                                                          17 account when starting his Audible membership. Accordingly, the screen he saw
                                                          18 differed slightly from the membership sign up page shown in Exhibit 1. Above an
                                                          19 input box reflecting the selected payment method was the following disclosure:
                                                          20 “Your Amazon payment method is on file for your membership.” The webpage
                                                          21 also stated “We’re an Amazon company” and it displayed the Amazon logo as well.
                                                          22 Attached as Exhibit 4 are screenshots of the mobile webpage for users designating
                                                          23 an existing payment method, which contains the disclosures that Mr. McKee was
                                                          24 shown on June 26, 2016. The second screenshot in Exhibit 4 shows the area
                                                          25 directly surrounding the “Start Now” button, which Mr. McKee pressed to start his
                                                          26 Audible membership.
                                                          27         17.   Mr. McKee started his subscription by clicking a “Start Now” button.
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                                6      Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 7 of 16 Page ID #:795



                                                           1 Immediately beneath that “Start Now” button, the website disclosed that “By
                                                           2 completing your purchase, you agree to Audible’s Conditions of Use and Privacy
                                                           3 Notice.” Right below that was a section called “Audible Free Trial Details.” The
                                                           4 text in this section informed users that they can cancel their free trial membership at
                                                           5 any time before the end of the thirty-day period to avoid being charged, and that
                                                           6 after the thirty-day period they will begin paying membership fee at $14.95 per
                                                           7 month. The section also stated “Check out the full terms and policies that apply to
                                                           8 Audible membership,” with the words “terms” and “policies” hyperlinked. If a user
                                                           9 clicked on the “terms” hyperlink, the user would be taken directly to the Audible
                                                          10 Service Terms of Use, last updated June 7, 2016, which I describe in Paragraphs
                                                          11 20-22 below.
                                                          12         18.   On a standard iPhone 7, for the sign-up page that Mr. McKee used,
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                                                          13 there is less than one-eighth of an inch of space between the “Start Now” button
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                                                          14 and the disclosure that the user agrees to Audible’s Conditions of Use. Thus, it is
                                                          15 nearly impossible for the user of a standard iPhone 7 to scroll to the “Start Now”
                                                          16 button without also seeing the disclosure. That is particularly true given the
                                                          17 “momentum scrolling” effect on an iPhone. Attached as Exhibit 5 is a video
                                                          18 demonstrating how, in the normal use of an iPhone viewing this page, a user
                                                          19 scrolling down to the “Start Now” button necessarily will see the disclosure.
                                                          20 While it may be possible to scroll carefully to deliberately avoid seeing the
                                                          21 disclosure, the mobile website is designed so that the disclosure will appear in the
                                                          22 ordinary use of a mobile phone.
                                                          23                       Fourth Webpage in Mobile Sign-Up Flow
                                                          24         19.   Upon pressing “Start Now,” Mr. McKee was enrolled in Audible. At
                                                          25 that point, he was directed to a mobile webpage showing the Audible storefront,
                                                          26 from which he could select audiobooks.
                                                          27 //
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                               7       Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 8 of 16 Page ID #:796



                                                           1                          Audible Terms As Of June 26, 2016
                                                           2         20.   I understand that Mr. McKee says he did not click on any hyperlinks to
                                                           3 any Audible or Amazon terms when he was signing up for Audible. If he had
                                                           4 clicked on the hyperlinks to the Audible terms on the First or Third webpages
                                                           5 shown in Exhibits 2 and 4 above, he would have been shown a copy of the Audible
                                                           6 Service Terms of Use last updated June 7, 2016. Attached as Exhibit 6 is a
                                                           7 screenshot of those terms accessed from the mobile website, which Mr. McKee
                                                           8 would have seen had he clicked on the hyperlinks when signing up on June 26,
                                                           9 2016. The terms remain in effect today.
                                                          10         21.   The first two paragraphs of the Audible Service Terms of Use as they
                                                          11 appeared when Mr. McKee signed up for Audible June 26, 2016 stated as follows:
                                                          12               This is an agreement between you and Audible, Inc.
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                                                                           (with its affiliates, "Audible", "we" or "us") regarding the
                                                          13
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                                                                           digital spoken word audio entertainment service operated
                                          MOUNTAIN VIEW




                                                                           by Audible (the "Service"). The rules, policies and
                                                          14               guidance we provide regarding the Service, the
                                                                           Amazon.com Conditions of Use and the Amazon.com
                                                          15               Privacy Notice (all as they may be changed over time)
                                                                           are collectively referred to as the "Terms" and govern
                                                          16               your use of the Service. The Service is an Amazon
                                                                           Service for the purposes of the Amazon.com Conditions
                                                          17               of Use. These Audible Service Terms of Use will take
                                                                           precedence over any conflicting provisions of the
                                                          18               Amazon.com Conditions of Use.
                                                          19               By signing up for or using the Service, you agree to the
                                                                           Terms.
                                                          20
                                                          21 The disclosure quoted above included hyperlinks in blue font to the Amazon.com
                                                          22 Conditions of Use and the Amazon.com Privacy Notice, which appear as
                                                          23 underlined text above.
                                                          24         22.   As of June 26, 2016, when Mr. McKee signed up for the Audible
                                                          25 service, the Audible Service Terms of Use also contained an explicit reference to
                                                          26 the Amazon dispute resolution provision that applies to Amazon Services, stating
                                                          27 the following:
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                               8       Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 9 of 16 Page ID #:797



                                                           1               DISPUTES; LIMITATION OF LIABILITY
                                                           2               Any dispute or claim arising from or relating to these
                                                                           Terms or your use of the Service is subject to the binding
                                                           3               arbitration, governing law, disclaimer of warranties,
                                                                           limitation of liability and all other terms in the
                                                           4               Amazon.com Conditions of Use.
                                                           5                          Printing and Saving Audible Terms
                                                           6         23.   I understand that Mr. McKee has suggested that Amazon and Audible
                                                           7 prevent saving or printing copies of these terms. In fact, with the standard Safari
                                                           8 browser on an iPhone 7, a user can easily share or print the Audible Service Terms
                                                           9 of Use. A user can simply tap the “share” button in the lower center portion of their
                                                          10 screen. Once the user taps this button the iPhone will present options to mail or
                                                          11 message the page, or to convert the page to a PDF to be stored in iBooks. Attached
                                                          12 as Exhibit 7 are screenshots of both steps of the two-step process necessary to save
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                                                          13 the Audible Service Terms of Use as a PDF. Attached as Exhibit 8 is an example
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                                                          14 of a PDF of the Audible Service Terms of Use as created using this two-step
                                                          15 process on an iPhone 7. If a user follows this two-step process, a PDF resembling
                                                          16 Exhibit 8 will be saved in the native iBooks app of the user’s phone until the user
                                                          17 deletes the PDF. A user can print that PDF directly from the phone if the user has
                                                          18 set up the phone to print, or the user can email PDF (or save it to a cloud storage
                                                          19 location) and print it from a personal computer attached to a printer. This is true
                                                          20 today and was true when Mr. McKee signed up for Audible on June 26, 2016.
                                                          21         24.   Users viewing the Audible Service Terms of Use on a mobile phone
                                                          22 can also take a screenshot of the portion that they are reading at any time, and the
                                                          23 portion on the user’s screen at the time will be saved to the user’s camera roll on the
                                                          24 phone, and any cloud storage accounts where the user backs up photos. The user
                                                          25 can email, text, or print that screen shot using normal email and print functions.
                                                          26 Attached as Exhibit 9 is a screenshot of Audible’s dispute resolution provision,
                                                          27 taken from an iPhone 7.
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                               9       Case No. 2:17-cv-1941 GW(Ex)
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                                                           1         25.   In sum, there are several, easy-to-use ways to print, save, and send
                                                           2 copies of Amazon and Audible’s terms using an iPhone, and Amazon and Audible
                                                           3 do not prevent users from doing any of these things. This is true today and was true
                                                           4 when Mr. McKee signed up for Audible on June 26, 2016.
                                                           5     Mr. McKee’s Agreement to Audible Conditions Through the Audible App
                                                           6         26.   In addition to agreeing to Audible terms during the mobile website
                                                           7 signup, Mr. McKee agreed to the terms when he signed in to the Audible mobile
                                                           8 app. Audible provides a mobile app that allows users to access Audible audio
                                                           9 books on their mobile devices. Audible’s business records show that Mr. McKee
                                                          10 signed into and registered the Audible mobile app to an iPhone at 5:11pm PDT on
                                                          11 October 25, 2016.
                                                          12         27.   To use the Audible app on his iPhone 7, Mr. McKee first downloaded
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                                                          13 the app from the Apple App Store. Upon launching the app, Mr. McKee saw a
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                                          MOUNTAIN VIEW




                                                          14 sign-in page for the Audible app. Attached as Exhibit 10 is a screenshot showing
                                                          15 the sign-in page for the Audible app as it appeared on an iPhone 7 at the time that
                                                          16 Mr. McKee signed into the mobile app. The entirety of Exhibit 10 shows up on one
                                                          17 screen on an iPhone 7; a user does not need to scroll down to see the bottom of the
                                                          18 image. In large text in the center of the screen is Audible’s logo, which
                                                          19 prominently displayed the language “An Amazon Company” directly underneath
                                                          20 the word “Audible.”
                                                          21         28.   In order to use the Audible mobile app on his iPhone 7, Mr. McKee
                                                          22 had to sign in using this process by entering his Amazon account credentials and
                                                          23 pressing the “Continue” button. Directly under the “Continue” button is the text:
                                                          24 “By Signing in, you agree to Audible’s Conditions of Use.” The “Conditions of
                                                          25 Use” language is a hyperlink, highlighted in blue, which links directly to the
                                                          26 Audible Service Terms of Use, which I describe in Paragraphs 20-22 of this
                                                          27 declaration, above.
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                             10        Case No. 2:17-cv-1941 GW(Ex)
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                                                           1         29.   When entering his Amazon account credentials, Mr. McKee likely
                                                           2 would have used the keyboard feature on his iPhone (unless he used separate
                                                           3 keyboard, such as a Bluetooth keyboard). While typing in his information, the
                                                           4 keyboard would have temporarily obscured the “Continue” button and the
                                                           5 disclosure about agreeing to Audible’s terms. However, before entering his
                                                           6 information, Mr. McKee was first shown the entire screen shown in Exhibit 10 on
                                                           7 his iPhone. Thus, he was shown the full disclosure before entering his information
                                                           8 and choosing to continue. In addition, if he typed in his Amazon account
                                                           9 information and then pressed “Done,” he would have again seen the full screen
                                                          10 before pressing the “Continue” button.
                                                          11    Mr. McKee’s Agreement to Audible Terms During Amazon Echo Activation
                                                          12         30.   Amazon’s business records show that, on April 19, 2016, Mr. McKee
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                                                          13 purchased an Amazon Echo device from Amazon. The Amazon Echo is a hands-
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                                          MOUNTAIN VIEW




                                                          14 free speaker that utilizes Amazon’s Alexa Voice Service, which enables users to
                                                          15 access various Amazon services with the sound of their voice. The Amazon Echo
                                                          16 can play any Audible audiobook that appears associated with a user’s Amazon
                                                          17 account. Before a user can activate and use the Amazon Echo, Amazon requires
                                                          18 that the user agrees to its Conditions of Use, along with the Audible terms, and the
                                                          19 terms of other Amazon services that are accessible using the Amazon Echo.
                                                          20         31.   Mr. McKee activated his Amazon Echo on April 27, 2016. This
                                                          21 required him to link his Amazon Echo to his Amazon account. To do so, Mr.
                                                          22 McKee was required to use the Alexa companion app. Amazon recently updated its
                                                          23 Alexa companion app. In preparing this declaration, I reviewed a historical version
                                                          24 of the Alexa companion app that was operative on April 27, 2016 to see the
                                                          25 disclosures that were present at that time. Attached as Exhibit 11 is a screenshot
                                                          26 showing the start-up page for the Alexa companion app (as it would appear on an
                                                          27 iPhone) seen in the test environment, which reflects the start-up page that was
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                             11       Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 12 of 16 Page ID #:800



                                                           1 available when Mr. McKee activated his Amazon Echo. The entirety of Exhibit 11
                                                           2 shows up on one screen on an iPhone; a user does not need to scroll down to see the
                                                           3 bottom of the image. At the bottom of the screen is a button that says “Begin
                                                           4 Setup.” Above that, there is the following disclosure: “By tapping ‘Begin Setup’,
                                                           5 you agree to all the terms found here.”
                                                           6         32.   The text “terms found here” in the disclosure above is a hyperlink,
                                                           7 highlighted in blue. When the user presses that button, the user is directed to the
                                                           8 “Alexa and Amazon Echo Terms.” Attached as Exhibit 12 is a screenshot showing
                                                           9 how a mobile user would see these terms as rendered within the Alexa companion
                                                          10 app; this exhibit reflects the current version of the “Alexa and Amazon Echo
                                                          11 Terms.” A printout of the website version of the historical “Alexa and Amazon
                                                          12 Echo Terms” as of February 6, 2016, which were in effect on April 27, 2016, is
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                                                          13 attached as Exhibit 13 to this declaration. The terms shown in Exhibit 13 are what
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                                                          14 a user would have seen on April 27, 2016 within the Alexa companion app upon
                                                          15 clicking the “terms found here” link. The terms state that “If you use or access
                                                          16 Alexa, you agree to the following terms” and then includes a hyperlinked list of
                                                          17 different terms that apply, including a hyperlink labelled “Audible Conditions of
                                                          18 Use.”
                                                          19         33.   Upon clicking on the “Audible Conditions of Use” link when
                                                          20 activating an Amazon Echo on April 27, 2016, a user would have been directed to
                                                          21 the Audible Service Conditions of Use. Attached as Exhibit 14 is a copy of the
                                                          22 terms of use for the Audible service in place on April 27, 2016. This version of the
                                                          23 Audible Service Conditions of Use included the following dispute resolution
                                                          24 provision:
                                                          25           Any dispute or claim relating in any way to your use
                                                                       of the Audible Service will be resolved by binding
                                                          26           arbitration, rather than in court, except that you may
                                                                       assert claims in small claims court if your claims qualify.
                                                          27           The Federal Arbitration Act and federal arbitration law
                                                                       apply to this agreement.
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                          12        Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 13 of 16 Page ID #:801



                                                          1                 There is no judge or jury in arbitration, and court
                                                                            review of an arbitration award is limited. However,
                                                          2                 an arbitrator can award on an individual basis the
                                                                            same damages and relief as a court (including
                                                          3                 injunctive and declaratory relief or statutory
                                                                            damages), and must follow the terms of these
                                                          4                 Conditions of Use as a court would.
                                                          5                 To begin an arbitration proceeding, you must send a
                                                                            letter requesting arbitration and describing your claim to
                                                          6                 our registered agent: Corporation Service Company, 300
                                                                            Deschutes Way SW, Suite 304, Tumwater, WA 98051.
                                                          7                 The arbitration will be conducted by the American
                                                                            Arbitration Association (AAA) under its rules, including
                                                          8                 the AAA’s Supplementary Procedures for Consumer-
                                                                            Related Disputes. The AAA’s rules are available at
                                                          9                 www.adr.org or by calling 1-800-778-7879. Payment of
                                                                            all filing, administration and arbitrator fees will be
                                                          10                governed by the AAA’s rules. We will reimburse those
                                                                            fees for claims totaling less than $10,000 unless the
                                                          11                arbitrator determines the claims are frivolous. Likewise,
                                                                            Audible will not seek attorneys’ fees and costs in
                                                          12                arbitration unless the arbitrator determines the claims are
                                                                            frivolous. You may choose to have the arbitration
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                                                          13                conducted by telephone, based on written submissions, or
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                                                                            in person in the county where you live or at another
                                                          14                mutually agreed location.
                                                          15                We each agree that any dispute resolution
                                                                            proceedings will be conducted only on an individual
                                                          16                basis and not in a class, consolidated or representative
                                                                            action. If for any reason a claim proceeds in court rather
                                                          17                than in arbitration we each waive any right to a jury trial.
                                                                            We also both agree that you or we may bring suit in court
                                                          18                to enjoin infringement or other misuse of intellectual
                                                                            property rights.
                                                          19
                                                               Exhibit 14 at 3 (bold in original). This dispute resolution provision is essentially
                                                          20
                                                               identical to the arbitration provision in the Amazon Conditions of Use (“COUs”),
                                                          21
                                                               which is now incorporated by reference in the current Audible terms. The only
                                                          22
                                                               difference is that the arbitration provision in the Amazon COUs apply more broadly
                                                          23
                                                               to any use of any Amazon Service, or to any products or services sold or distributed
                                                          24
                                                               by Amazon or through Amazon.com.
                                                          25
                                                                   Grant McKee’s Agreement to Amazon Terms When Making Purchases
                                                          26
                                                                     34.    Amazon’s COUs have contained an arbitration agreement and class
                                                          27
                                                               action waiver since August 19, 2011. Attached as Exhibit 15 is a copy of
                                                          28    MASSELLO SUPP. DECL. ISO
                                                                DFTS’ MTN TO COMPEL
                                                                ARBITRATION                           13       Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 14 of 16 Page ID #:802



                                                          1 Amazon’s most recent COUs before the start of this lawsuit, which were updated
                                                          2 June 21, 2016. Attached as Exhibit 16 is a copy of the COUs in effect from
                                                          3 December 5, 2012 until June 20, 2016. Attached as Exhibit 17 is a copy of the
                                                          4 COUs in effect from August 19, 2011 until December 4, 2012. The arbitration
                                                          5 agreement appearing in all these COUs contains virtually identical language. The
                                                          6 relevant provision of the most recent COUs before this lawsuit began appears
                                                          7 below:
                                                          8              Any dispute or claim relating in any way to your use
                                                                         of any Amazon Service, or to any products or services
                                                          9              sold or distributed by Amazon or through
                                                                         Amazon.com will be resolved by binding arbitration,
                                                          10             rather than in court, except that you may assert claims
                                                                         in small claims court if your claims qualify. The Federal
                                                          11             Arbitration Act and federal arbitration law apply to this
                                                                         agreement.
                                                          12
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                                                                         There is no judge or jury in arbitration, and court
                                                          13
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                                                                         review of an arbitration award is limited. However,
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                                                                         an arbitrator can award on an individual basis the
                                                          14             same damages and relief as a court (including
                                                                         injunctive and declaratory relief or statutory
                                                          15             damages), and must follow the terms of these
                                                                         Conditions of Use as a court would.
                                                          16
                                                                         To begin an arbitration proceeding, you must send a
                                                          17             letter requesting arbitration and describing your claim to
                                                                         our registered agent Corporation Service Company, 300
                                                          18             Deschutes Way SW, Suite 304, Tumwater, WA 98501.
                                                                         The arbitration will be conducted by the American
                                                          19             Arbitration Association (AAA) under its rules, including
                                                                         the AAA's Supplementary Procedures for Consumer-
                                                          20             Related Disputes. The AAA’s rules are available at
                                                                         www.adr.org or by calling 1-800-778-7879. Payment of
                                                          21             all filing, administration and arbitrator fees will be
                                                                         governed by the AAA’s rules. We will reimburse those
                                                          22             fees for claims totaling less than $10,000 unless the
                                                                         arbitrator determines the claims are frivolous. Likewise,
                                                          23             Amazon will not seek attorneys’ fees and costs in
                                                                         arbitration unless the arbitrator determines the claims are
                                                          24             frivolous. You may choose to have the arbitration
                                                                         conducted by telephone, based on written submissions, or
                                                          25             in person in the county where you live or at another
                                                                         mutually agreed location.
                                                          26
                                                                       We each agree that any dispute resolution
                                                          27           proceedings will be conducted only on an individual
                                                                       basis and not in a class, consolidated or representative
                                                          28   MASSELLO SUPP. DECL. ISO
                                                               DFTS’ MTN TO COMPEL
                                                               ARBITRATION                         14       Case No. 2:17-cv-1941 GW(Ex)
                                             Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 15 of 16 Page ID #:803



                                                          1                 action. If for any reason a claim proceeds in court rather
                                                                            than in arbitration we each waive any right to a jury
                                                          2                 trial. We also both agree that you or we may bring suit in
                                                                            court to enjoin infringement or other misuse of
                                                          3                 intellectual property rights.
                                                          4
                                                               Exhibit 14 at 4 (bold in original).
                                                          5
                                                                     35.    Since August 19, 2011, Amazon’s COUs have also contained a
                                                          6
                                                               consistent choice of law provision:
                                                          7
                                                                            By using any Amazon Service, you agree that the Federal
                                                          8                 Arbitration Act, applicable federal law, and the laws of
                                                                            the state of Washington, without regard to principles of
                                                          9                 conflict of laws, will govern these Conditions of Use and
                                                                            any dispute of any sort that might arise between you and
                                                          10                Amazon.
                                                          11
                                                               Exhibit 14 at 4.
                                                          12
                                                                     36.    As I stated in my two earlier declarations, Mr. McKee also agreed to
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                                                          13
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                                          MOUNTAIN VIEW




                                                               Amazon’s terms by making purchases from Amazon.com. Each time a customer
                                                          14
                                                               makes a purchase through Amazon’s standard checkout page, the customer is
                                                          15
                                                               required to accept Amazon’s COUs. This process is no different whether a
                                                          16
                                                               customer makes a purchase using Amazon’s standard checkout page on a mobile
                                                          17
                                                               device or on a desktop computer. In either case, customers have the opportunity to
                                                          18
                                                               review and confirm their orders and, to complete their orders, they must accept the
                                                          19
                                                               Amazon COUs. Exhibit 18 is an example of a standard Amazon checkout page on
                                                          20
                                                               a desktop computer; Exhibit 19 shows screenshots of Amazon’s checkout screen
                                                          21
                                                               from the Amazon.com mobile website and mobile app, taken on an iPhone 7.
                                                          22
                                                               These exhibits demonstrate that, to make a purchase, Amazon customers must click
                                                          23
                                                               on a “Place your order” button. In either case, there is the prominent disclosure
                                                          24
                                                               that: “By placing your order, you agree to Amazon’s privacy notice and conditions
                                                          25
                                                               of use.” The words “conditions of use” are a blue highlighted hyperlink to the
                                                          26
                                                               COUs. A customer cannot checkout from this page without first clicking on this
                                                          27
                                                          28    MASSELLO SUPP. DECL. ISO
                                                                DFTS’ MTN TO COMPEL
                                                                ARBITRATION                             15       Case No. 2:17-cv-1941 GW(Ex)
         Case 2:17-cv-01941-GW-E Document 30-1 Filed 06/21/17 Page 16 of 16 Page ID #:804




              1   "Place your order" button. This was true on dozens of occasions when Mr. McKee
              2   made purchases, including before, during, and after his Audible membership.
              3         37.    As I noted above, between the time he signed up for Prime in 2012 and
              4   the time that he filed this lawsuit, Plaintiff placed 160 separate orders from
              5   Amazon.corn using his Prime account. Regardless of what device Mr. McKee used
              6   to make these purchases, the standard checkout screen would not be different
              7   between devices and would require agreement to Amazon's COUs for every
              8   purchase, even if made on an iPhone. Accordingly, Mr. McKee agreed to

              9   Amazon's dispute resolution provisions on dozens of occasions before filing this
             10   lawsuit against Amazon and Audible.

             11
             12         I declare under penalty of pe1jury under the laws of the United States that the
....,
0..
....,
 ....             foregoing is true and correct.
 Vl          13
:s:"'
,lj

 "'u         14         Executed on this lH{ day of June, 2017, at Newark, New Jersey.
 3:z
...."'       15
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                  MASSELLO SUPP. DECL. ISO
                  DFTS' MTN TO COMPEL
                  ARBITRATION                               16       Case No. 2:17-cv-1941 GW(Ex)
